      Case: 1:20-cv-00512 Document #: 18 Filed: 02/14/20 Page 1 of 1 PageID #:88


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form

            Mutnick v. Clearview AI, Inc. et
Case Title: al.                                            Case Number: 20-C-512


An appearance is hereby filed by the undersigned as attorney for:
CLEARVIEW AI, INC.; HOAN TON-THAT; RICHARD SCHWARTZ

Attorney name (type or print): David P. Saunders

Firm: Jenner & Block LLP

Street address: 353 N. Clark St.

City/State/Zip: Chicago, IL 60654

Bar ID Number: 6293694                                     Telephone Number: 312-222-9350
(See item 3 in instructions)

Email Address: dsaunders@jenner.com

Are you acting as lead counsel in this case?                                         Yes       ✔ No
Are you acting as local counsel in this case?                                   ✔ Yes              No

Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 02/14/2020

Attorney signature:            S/ David P. Saunders
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
